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 4
     Attorney for Defendant: ANDREW R. BLAXON
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     ) CR. S-08-539 FCD
11                                                 )
                                      Plaintiff,   )
12                                                 )
                         v.                        ) STIPULATION AND ORDER
13                                                 ) CONTINUING ADMIT/DENY
     ANDREW R. BLAXON,                             ) HEARING ON TSR VIOLATION
14                                                 )
                                 Defendant,        )
15                                                 )
16         IT IS HEREBY STIPULATED by the partied, through their respective counsel,
17   that the defendant’s admit or deny hearing on an alleged violation of his terms of
18   supervised release may be changed from May 9, 2011 to May 2, 2011. This change is is
19   requested to accommodate defense schedule. There are no issues related to the Speedy
20   Trial Act.
21   Dated: April 26, 2011
22   / s / Steven D. Bauer
23   STEVEN D. BAUER, Counsel for Defendant
24   Dated: April 26, 2011
25
     / s / Jason Hitt
26   JASON HITT, Assistant United States Attorney
27   (Order on Following Page)
28
        Case 2:08-cr-00539-GEB Document 54 Filed 04/27/11 Page 2 of 2


 1
     IT IS SO ORDERED.
 2
 3   Dated: April 27, 2011           _______________________________________
                                     FRANK C. DAMRELL, JR.
 4                                   UNITED STATES DISTRICT JUDGE
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